     Case 4:10-cr-00100-LGW-CLR Document 254 Filed 04/24/13 Page 1 of 7




                 UNITED STATES DISTRICT COURT

                 SOUTHERN DISTRICT OF GEORGIA

                            SAVANNAH DIVISION

JOSE ORLANDO GARCIA-DURAN,              )
                                        )
      Movant,                           )
                                        )
v.                                      )     Case No. CV412-221
                                        )               CR410-100
UNITED STATES OF AMERICA,               )
                                        )
      Respondent.                       )


                    REPORT AND RECOMMENDATION

      Following his conviction by a jury on drug importation and related

charges, this Court sentenced Jose Garcia-Duran to serve 262 months in

prison, a sentence at the high end of his guidelines range. Doc. 175 at 3. 1

He unsuccessfully appealed his conviction.                     United States v.

Garcia-Duran, 453 F. App’x 950 (11th Cir. 2012). Now he seeks relief

under 28 U.S.C. § 2255, asserting three grounds: (1) that his trial counsel

was constitutionally ineffective in failing to provide an adequate

explanation of the government’s plea offer and his sentencing exposure;


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  All record citations are to the criminal docket, CR410-100, unless otherwise noted.
All pinpoint citations are to the page number imprinted by the Court’s electronic case
filing system.
    Case 4:10-cr-00100-LGW-CLR Document 254 Filed 04/24/13 Page 2 of 7




(2) that trial counsel was ineffective in failing to raise a Brady violation on

direct appeal; and (3) that the government knowingly presented false

testimony at trial.

      The government conceded, and the Court agreed, that an

evidentiary hearing was needed to resolve a factual dispute regarding

movant’s first contention, and it appointed counsel to represent him at

that hearing.

     A. Ineffectiveness regarding the government’s plea offer

      “ During plea negotiations, defendants are ‘entitled to the effective

assistance of competent counsel.’” Lafler v. Cooper , 132 S. Ct. 1376, 1384

(2012). An attorney who either fails to convey a formal plea offer to his

client or who gives bad advice about whether to accept that plea offer

renders deficient performance under Strickland v. Washington , 466 U.S.

668, 687 (1984), and if prejudice can be shown, the defendant is entitled to

habeas relief. Id . at 1390-91 (counsel’s bad legal advice caused defendant

to reject a favorable plea offer that would otherwise have been accepted,

resulting in defendant receiving a minimum sentence three and one-half

times greater than he would have received under the plea); Missouri v.


                                       2
    Case 4:10-cr-00100-LGW-CLR Document 254 Filed 04/24/13 Page 3 of 7




Frye , 132 S. Ct. 1399 (2012) (defense counsel renders ineffective

assistance by failing to communicate formal plea offers that may be

favorable to the accused).

     Movant contends that his trial attorney’s advice regarding the

government’s plea offer was deficient because counsel failed to explain

“that his mandatory minimum would double if he proceeded to trial,” doc.

227 at 2, and that counsel’s bad advice was prejudicial because “he would

certainly have changed his plea” had he been given proper advice. Id .

     The plea agreement provided that if movant pled guilty to

conspiracy to import controlled substances (Count 2) and importation of

controlled substances (Count 4), he would face a sentence of 10 years to

life imprisonment. Gov ’t Ex. 4. The plea agreement further reflected the

government’s promise not to “seek to enhance the defendant’s sentence

pursuant to 21 U.S.C. § 851” if he elected to accept the plea offer.     Id .

Movant conceded at the evidentiary hearing that his attorney discussed

the plea agreement with him at least four times but testified that counsel

never mentioned the possibility of a § 851 enhancement or explained its

effect. Movant claims that he was unaware that the filing of a § 851 notice
    Case 4:10-cr-00100-LGW-CLR Document 254 Filed 04/24/13 Page 4 of 7




would have the effect of enhancing his mandatory minimum sentence

from 10 to 20 years. Instead, he testified that his attorney advised him

only that he would lose the reduction for acceptance of responsibility if he

proceeded to trial.

      Movant’s trial attorney, Robert Nye, gave a very different account of

his discussions with his client. Nye testified that during each of their

multiple meetings regarding the government’s plea offer, he not only

informed movant about the terms of that plea offer but constantly

encouraged him to accept it. Nye stated that he timely presented movant

with the government’s entire written plea offer and specifically reviewed

the summary portion -- the nontechnical part best comprehended by lay

people -- that reflected the government’s promise not to seek the § 851

enhancement if movant elected to plead guilty.

      Nye told movant that “it was foolish for him to try this type of case.”

He explained the § 851 consequence if he did not take the “ten years to

life” deal offered: That “the government would file an 851 enhancement”

exposing him to the “twenty years to life” imprisonment. Nye reminded

movant of that consequence again, during their fourth meeting shortly



                                      4
     Case 4:10-cr-00100-LGW-CLR Document 254 Filed 04/24/13 Page 5 of 7




before trial. He insists that “I told him about the enhancement every

single time I saw him. That was a huge thing. I essentially told him he

may never get out of jail . . . if he goes to trial and loses, and that’s

precisely what happened.” 2

      The Court credits Nye’s testimony over movant’s. Nye supported

his testimony with his “out-of-court hourly worksheet” record in this case.

Gov’t Ex. 2, doc. 248-1. Nye marked on this log his visits with movant,

including when he discussed the plea agreement, and recalled “almost

wanting to yell” at him for not taking the deal. With experience in some

30 federal criminal cases (and before that, military litigation experience as

a Judge Advocate General), it would not make sense for Nye to overlook

such a critical factor, one that he expressly discussed in email plea

negotiations with the government, see Gov’t Ex. 1, doc. 248, and which

was the core feature of the government’s plea offer. Movant, in contrast,

has every incentive to misremember (if not lie about) what Nye told him.

This claim, therefore, should be denied. See Morrison v. United States ,

2012 WL 4711863 at * 3 (S.D. Ala. Oct. 3, 2012) (rejecting IAC-based,

2
 On cross he acknowledged that he did not recall whether he used the term “851,” but
he did, consistent with his practice, repeatedly use the term lay people are better able
to grasp: “enhancement.”

                                           5
    Case 4:10-cr-00100-LGW-CLR Document 254 Filed 04/24/13 Page 6 of 7




bungled guilty plea claim because attorney correctly warned defendant

that, “if he went to trial, he could face exposure to a term of imprisonment

approaching 30 years in a worst-case scenario.”).

     B. Movant’s remaining claims

     Movant also faults Nye for failing to raise a claimed Brady violation

on appeal. Doc. 220 at 5; doc. 221 at 7-11. The government insists that

this claim is baseless because the statement on which movant relies did

not even exist until over six months after his trial. Doc. 225 at 21-27. The

government also argues the same about movant’s claim that the

government violated various rights by allowing a co-defendant to testify

about untruths. Doc. 220 at 7-9; doc. 221 at 13-14; doc. 225 at 27-28.

Movant does not dispute this showing, so these claims should be denied.

      Two days after the evidentiary hearing movant moved under Fed. R.

Crim. P. 45 “for a reasonable extension of time to file a brief before the

Report[] and Recommendation[ is] disseminated in light of the newly

discovered evidence presented at [that hearing].” Doc. 249. Movant does

not say what that evidence is, much less with what legal theory he would

present it. Nor, obviously, is his appointed counsel willing to commit to a

specific time frame to brief this new claim. The motion is DENIED .
    Case 4:10-cr-00100-LGW-CLR Document 254 Filed 04/24/13 Page 7 of 7




     Jose Garcia-Duran’s § 2255 motion should therefore be DENIED .

Doc. 220. Applying the Certificate of Appealability (COA) standards set

forth in Brown v. United States , 2009 WL 307872 at * 1-2 (S.D. Ga. Feb. 9,

2009), the Court discerns no COA-worthy issues at this stage of the

litigation, so no COA should issue. 28 U.S.C. § 2253(c)(1); see Alexander v.

Johnson , 211 F.3d 895, 898 (5th Cir. 2000) (approving sua sponte denial of

COA before movant filed a notice of appeal). And, as there are no

non-frivolous issues to raise on appeal, an appeal would not be taken in

good faith. Thus, in forma pauperis status on appeal should likewise be

DENIED . 28 U.S.C. § 1915(a)(3).

      SO REPORTED AND RECOMMENDED this 24th day of

April, 2013.


                                     LTMTED STATES MAGISTRATE ILJDGE
                                     SOUTHERN DISTRICT OF GEORGIA




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